        Case 8:06-cr-00342-JSM-TGW Document 133 Filed 08/15/07 Page 1 of 6 PageID 532
A0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       m G M E N T IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:06-cr-342-T-30TGW
                                                               USM NUMBER: 49255-01 8
VS.


HENRY HILL
                                                               Defendant's Attorney: Rosanne Loretta Brady, cja.

THE DEFENDANT:

- pleaded gullty to count(s)
- pleaded nolo contendere to countis) wh~chwas accepted by the court
X was found pity on com~t(s)ONE of the Superseding Indictment after a plea o f not guilty

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

18 U.S.C. 5 371 and                 Conspiracy to Make Firearms Not              May 22,2006
26 U.S.C. $ 5861(f)                 Registered in the National Firearms
                                    Registration and Transfer Record


       The defendant is sentenced as provided in pages 2 through 6 ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

- The defendant has been found not guilty on countis)
X Count(s) OKE of the orlglnal mdictment 1s dlsnnssed on the motlon of the Unltetl States
IT IS FURTHER ORDERED that the defendant nlust notify the United States Attorney for this district witlun 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Datc of Irnpos~t~on
                                                                                                   of Sentence. August 15.2007




                                                                                  UNIHD
                                                                                     STATES DISTRICT JI~DGF!


                                                                                  DATE: A u g u1s.
                                                                                                s t , 2007
          Case 8:06-cr-00342-JSM-TGW Document 133 Filed 08/15/07 Page 2 of 6 PageID 533
A0 245B (Rev 06/05) Sheet 2 - I~iipr~sonnient
                                           (Judgment in a Csiniinal Case)
Dcfmdant:            HEURJ' HILL                                                                            .Judgnlcnt - Paye 2 of
CSC KO.:             8:06-~1.-342-T-30TGLV



         After considering tile advisory sentencing guidelines ant1 all of the factors identitied in Title 18 L.S.C. $5
3553(a)(l)-(7), the court tlntls that the sentence imposed is sufficient. but not greater than necessary. to compl?, ~ v i t h
the st:ktutor). purposes ot'ser~tencing.


          T h e defendant is hereby conirnitted to the custody of the United States Bureau ofl'risons to be imprisoned for
a total t e r m of SIXTY (60) MONTHS as to Count One of the Supe~.scclingIndictment. The terms of irnprisonnient
imposed by this judgment shall run consecutively except for one (1) year whicli shall run concurrentl~~   to the defendant's
tern1 of' imprisonment imposed pursuant to the judgnient in Docket Nl~nlbcrCRC06-11967, Pinellas CounQ7Circuit Court.




X I'he court makes thc: following recommendations to the Bureau of Prisons: The defendant shall be place FC'I
Coleman (FL), ifpossible. The defendant shall participate in the 500 hour intensive drug treatment while incarcerated.


X The deferdmt is re~iiandstlto the custody of the Llnitecl States Marshal.
-
     The d e f e ~ d m st h d : si~rrcnderro thc United States Marshal for this district.

          - at - a.m.!p.ni. on -.
          - as notified by the Unitcd States Marshal.

- Thc defendant shall sun-endcr for scrvice of sentence at thc institution designated by the Bureau of Prisons.

          - before 3 p.m. on -.
            as notified t,.111sI:nitcd States Marshal.
          - 3s notitic.<$~y thc I'robarion or Prexial Scsviccs OflTcc.




                                                                            RETCRN

           1 have executed this iudgment as follows:




          Defendant delivered on                                                    to
-    at                                                                     , with a certified copy of this judgment.




                                                                                            Cnitetl States Marshal

                                                                              By:
                                                                                                    Deputy United States hlarshal
        Case 8:06-cr-00342-JSM-TGW Document 133 Filed 08/15/07 Page 3 of 6 PageID 534
A 0 245B (Re\.. 06!'05) Shcel 3 - Supervised Release (Judgment in a C'riminal Casc)

Defendant:          HENRY HLLL                                                                         Judg~nlent- Page 3 of 6
Case No.:           8:06-cr-342-T-30TGW
                                                           SUPERVISED RELEASE

           Upon releilse !'I-om imp]-isonmelit, the defendant shall be on supel-vised release for a tel-111of THREE (3) P'EAItS as t o
C o u n t O n e of the Supcrseding Indictment.

         The defendant must report to the probation office in the district to whicll the delkudant is released within 72 llours of rclcase from
the custodj of the Bureau of Prisons.

The defendant shall not c o ~ n ~ nanother
                                    it     federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawhil use o f a controlled substance. The defendant shall submit to one drug test \vithin 15 days
of release from imprisonmmt and at least two periodic d n ~ gtests thereafter, as determined by the court.

          The defendant shall not possess a firearm, destructive device, or a n y other dangerous weapon.

          The dzfcndanl shall cooperate in the collection of D L 4 as directed by the probation officer.


           I f t h s j u d g n ~ c ~imposes
                                     it     a fine or restitution it is a condition of supen-isedrelease that the defendant pay in accordance with the
           S c h d u l s of' I'qmcnts shect o f this judgment.

           The defendant must comply with the standard conditioi~sthat hai:e heen atlopled by this court as well 2 s with any additional
           conditions o n the attached page.



           the defendant shall not lewc the judicial district without the pcrniissio~iof the court or probation offices;

           the dcfcndan; siiall report to the probat~onofficer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant sliall answcr truthfully 311 inquiries by ~ h probation
                                                                       c         ofticcr and follow the instructions of the probation ofiicer;

           the defendant shall support his or her dependents aid meet other hni~lyrcsponsibilirics;

           the defendant shall work regularly at a Iriniful occupation, unless excused by the probation officer for scliooluig, [raining. or o~hcr
           a c c q t a b ! ~rc:~socs;

           the defendmt stiall not~fythe probat~onofficer at least ten days prior to any change in residence or cniploqment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase. posscss, use, distribute, or administer any cont~ulled
           substance or any parapIie~.ndiarelatcd to m y controlled substances, cxccpt as prescsibcd by a physician;

           the defendant shall nor frcqucnt places where controlled substances arc illegally sold, used, distributed, or administered:

           thc defendant shall nor assoclate with any persons engagcd in criminal x t i i - ~ t rind
                                                                                                y sli:dl not assoclatc with any person con\ ictccl of a
           I>lony, unlcs; gantcd pcrmission to do so by thc probatio~lofficcr:

           the defendant shall perni~ta probation officcr to visit h ~ or
                                                                       ~ her
                                                                          n at any timc at ho~iicor else\vherc and shall per-mlt confisclir~onof any
           contraband obscn-ed in pla~n\.iew of the probation officcr;

           the defendan1 shall notify the probation officer within scvcnty-two hours of being arscsted or questioned by a law cnforcernent officer;

           the defendant shall not enter into any agreement to act as an infomer or a special a,aent of a laiv cnfol*cenienragcncy without thc
           pernilssion of the court; and

           as dircctcd by the probalion ofticcr, the defendant shall notil'y th~rdpartlcs ot'r~sksthat may be occas~onedby the clefcndmt's cr~lii~nal
                                                                                                                                                   record
           or personal Ii~sror-yor cl7a1-actet-isticsand shall per~iiitthc probatloti ofticcr to makc such notificat~onsand to confirm the dcfetidant's
           conipliancc with such not~ficationrequ~rcmcnt.
       Case 8:06-cr-00342-JSM-TGW Document 133 Filed 08/15/07 Page 4 of 6 PageID 535

A 0 245U (Re\, 06/05) Sllect 3C - Supervised Releasc (Judgment in a Criminal Case)

Ikfendant:         IIENRYHILL                                                                 Judgment - Page 4 of
Case No.:          8:06-cr-342-T-30TGW
                                         SPECIAL COKDITIOIVS OF SUPER\'ISIOY

         The c!efendmt shall also comply \i11t11 thc following ndclit~onalconditions ol'supcrv~scdI-cleasc:


-
X        The defendant shnll pulticipate in a substance abuse program (outpatient a~ldiorinpatient) and follow te probation officer's
         instructions regarding the i~nplementationof this court directive. Further, the defendant sllall bc required to contribute lo the
         costs of services for such treatment not to exceed an anlount detei-n~inedreasonable by the Probation Officer's Sliding Scale Sot.
         Substance Abuse Treatment Services. During and upon completion of this program. the defendant is directed to subniit to
         random drug testing.

-
X        The de.f'endant shall cooperate in the collection of DNA as directed by the probation of'ficer.

x
-        Thc 111and;ltorytirug testing provisions shall apply piasuant to the Violent Crime Control Act. The Court au tllor-izes random
         drug testing not to exceed 103 tests per year.
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A 0 245B (Rcv 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:          HENRY HILL                                                       Juclgnent - Page 5    of 6
Case Yo. :          8:06-cl--342-T-30TGW

                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                            Fine                       Total Restitution

          Totals:            S100.00                               Waivecl                   N/A


-         The deten~-ination of I-estitutionis deferred uiltil       .                   Judgnzcnt in it Criminal Ccrse ( 4 0 245C) will
                                                                             A11 An~er~ckcl
          be entered aftcr such determination.

-         The defendant must make restitution (including coilm~unityrestitution) to the following payees in the amount listed
          below.
          If [he J c f d z n t makes a partial payment. each payee shall secelve an app-oximatelj propol-t~onedpayment, ~mlcss
          spec~ficdorhcwise in the priority order or percentage payinent colunm below. Ho\vever, p~lrsuantto 18 U.S.C.
          3664(i), all non-fcdsral victims must be p a d before the Cnited States.


 Name of Payee                                 Total Loss*                   Restitution Ordered               Priority or Percentage




                             Totals:           S                             X

-         Restin~t~oil
                   amoiml ordered yi~rsuantto plea agreement $

 -        The dekndmt must pay interest on a file or restitution ofmort: clnn $2.500, unless the restitution or finc 1s paid in fill1
          before the fifteenth day after the date of the judgment: pursuant to 18 U.S.C. 36 12(f). -411of the payment optlolls on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. 5 36 12(g).

 -        The court determined lhat the defendant does not have he ability to pay interest a~ldit is ordered that:

         -          the interest requirement is ~{raivedfor the - fine - restihltion.
         -          the lntercst requirement for the - fine      - rsstitut~onis modilied as fol1on.s:




* Findings ibr the total amount of losses are required under Chapters 109A, 1 10. 1 1OA, and 1 13A of Title 18 lor the offenses coi~mittzd
on or after September 13, 1994, but before April 23. 1996.
        Case 8:06-cr-00342-JSM-TGW Document 133 Filed 08/15/07 Page 6 of 6 PageID 537
A O 245B (Re\ 06'05) Shect 6 - Sshcdule of Paymcnts (Judgment in a Crinxnal Case)

Defendant:         HEYRY HILL
Case No.:          8:06-cr-342-T-30TGW



                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.        X        Lump sum payment o r S; 100.00 due immediately, balance duc
                             - not I:ltcr tl1ai1             , 01-

                             - in accordance - C , - D, - E or - F below; or
B.       -         Payment to begin inmediately (may be combined with -C. -D. or -F below); or
C.       -        Payment in equal          (e.g., weekly. monthly, quarterly) installments of S          over a period
                  of -(e.g.. months or years), to commence             days (e.g.. 30 01-60 days) after the date of this
                  judgment; or
D.       -         Pqrmcnt in equal             (e.g.. weekly, monthly, q~;astcrly)installlnents of S          over a period 01'
                              . (e.g.. months or years) to co~nmsnce                    (e.g. 30 01-60 daysj after release ti-0111
                   irnprisonme~;tto a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days)
                   after release from imprismment. The court will sct the payment plan based on an assessmeiit of the
                   clefendant's ability to pay at that time, or
I?.      -         Special i~istructionsregasding the payment of criminal 1110neta1-y
                                                                                    penalties:




Unless the court has expressly ordered otheswise, if this judgment imposes imprisonment, payment of criminal monetary
pen:dties is due during imprisonment. All criminal monetary penalties. except those payments made through the Federal
I3urc.a~of Prisons' Iimate Financial Responsibility Program, are mads to the clerk of the court.
The defendant shall receive credit for all payments previously mads toward anv criminal monetary penaltic> imposed.

-        Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
         Several Amount, and corresponding payee: if appropriate:


-        The deicndant shall pay thc cost of prosecution.
-        'The defendant shall yay the following court cost(s):

-        'The defendant shall brfeit the defendant's interest in the following property to the United States:
          The Cowt orders that the defendant forfeit to the United States inmediately and voluntarily any and all assets and
;,sopert?;, or portions thereof. subject to forfeiture, which are in the possession 01- control of the defendant or the dcfcndant's
nc~minees.
Payments shall be applied 111 the t'ollo%lng order: ( I ) assessment. (3) restlhKion princ~pal,(3) rest~tut~on
                                                                                                            Interest, ( 4 ) h e prlnclpal. ( 5 )
fine interest, (6) co~~uiiunity
                             restitution, (7) penalt~es,and (8) costs, i~lcludmgcost of prosec~itionand court costs.
